   Case: 1:12-cv-07220 Document #: 350 Filed: 01/20/20 Page 1 of 3 PageID #:3018




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                    )
DAVID ROGERS, ET AL.,                               )
                                                    )    Case No. 2012 CV 07220
               Plaintiffs,                          )
                                                    )    Judge Edmond E. Chang
       v.                                           )
                                                    )    Magistrate Weisman
FORD MOTOR COMPANY,
                                                    )
               Defendant.                           )
                                                    )

                      DEFENDANT FORD MOTOR COMPANY’S
                   MOTION FOR JUDGMENT AS A MATTER OF LAW

       Defendant Ford Motor Company moves for judgment as a matter of law under Federal

Rule of Civil Procedure 50(a) on all of Plaintiff David Rogers’ remaining claims. The reasons

for this Motion are set forth in detail in the accompanying Memorandum of Law.

       This Motion is timely because it is filed by noon on January 21, 2020, the deadline

agreed to by the parties and ordered by the Court. See 1/16 PM 2 Tr., at 18, 23.
  Case: 1:12-cv-07220 Document #: 350 Filed: 01/20/20 Page 2 of 3 PageID #:3018




Dated: January 20, 2020

                                     Respectfully submitted,

                                     BERKOWITZ OLIVER LLP

                                     By: /s/ Blaine H. Evanson            ______

                                           Kathleen M. Nemecheck          ARDC #50139
                                           Jocelyn A. Villaneuva Admitted Pro Hac Vice
                                           2600 Grand Boulevard, Suite 1200
                                           Kansas City, Missouri 64108
                                           Telephone: (816) 561-7007
                                           Facsimile: (816) 561-1888
                                           E-Mail:      knemecheck@berkowitzoliver.com
                                                        jvillanueva@berkowitzoliver.com

                                           Mark H. Boyle                 ARDC #6200934
                                           Karen Kies DeGrand            ARDC #6191140
                                           Curtiss Schreiber
                                           Donohue Brown Mathewson & Smyth LLC
                                           140 South Dearborn Street, Suite 800
                                           Chicago, Illinois 60603
                                           Telephone: (312) 422-0900
                                           Facsimile: (312) 422-0909
                                           E-Mail:       mark.boyle@dbmslaw.com
                                                         karen.degrand@dbmslaw.com

                                           Blaine H. Evanson        Admitted Pro Hac Vice
                                           Gibson, Dunn & Crutcher LLP
                                           3161 Michelson Drive
                                           Irvine, California 92612
                                           Telephone: (949) 451-3805
                                           Facsimile: (949) 475-4768
                                           E-Mail:       bevanson@gibsondunn.com

                                           Attorneys for Defendant Ford Motor Company




                                       2
   Case: 1:12-cv-07220 Document #: 350 Filed: 01/20/20 Page 3 of 3 PageID #:3018




                               CERTIFICATE OF SERVICE

      I hereby certify that on January 20, 2020 the foregoing was filed with the Court using the
ECF system, which provided electronic service to the following:

       David Porter
       Law Office of David Porter
       33 N. LaSalle Street
       Suite 2000
       Chicago, IL 60602
       Telephone: (312) 236-1207
       E-Mail: dporterlaw@ameritech.net

       Karen J. Doran
       Karen J. Doran, Attorney at Law, LLC
       2100 Manchester Road, Suite 1620
       Wheaton, Illinois 60187
       Telephone: (630) 384-9367
       E-Mail: karen@karendoranlaw.com

       Attorney for Plaintiff David Rogers


                                             /s/ Blaine H. Evanson
                                             Attorney for Defendant Ford Motor Company




                                              3
